Case 2:22-cv-01563-GMB Document 1-2 Filed 12/14/22 Page 1 of 7            FILED
                                                                 2022 Dec-15 AM 09:52
                                                                 U.S. DISTRICT COURT
                                                                     N.D. OF ALABAMA




                    Exhibit B
                            Case 2:22-cv-01563-GMB Document 1-2 Filed 12/14/22 Page 2 of 7
                                         Diversified Maintenance, LLC                                                INVOICE NO.            457576
                                         331 First Avenue North
                                         Birmingham, AL 35204                                                        DATE                   01/31/21
                                         Phone (205) 251-9249
                                         FEIN: XX-XXXXXXX


                  CUSTOMER                                                                                      SERVICE LOCATION
             Kat Brennan Use 810 N. Vallejo St as PO#
             City Storage Systems                                                                          City Storage Systems
             777 S Figueroa St.                                                                            810 Vallejo Street
             41st Floor                                                                                    Denver, CO 80204
             Los Angeles, CA 90017

 TERMS:                                                  CUSTOMER NO.                       JOB NO.                   P.O. NO.
  Net Due 30 Days                                             39369                          39369                  Use 810 N. Vallejo St
                                                                                                       Unit of
                     Description                                                  Quantity                               Price                  Amount
                                                                                                      Measure
January common area and 1 kitchen 2weeks
- Requested By: May Brennan - Completed
Date: 01/31/2021                                                                             1.00 1                         5,442.83                     5,442.83




 Please remit payment to: Diversified Maintenance-RWS, LLC P.O. Box 745691 Atlanta, GA 30374-5691

                                                                                                    Sub-Total                                           5,442.83
                                                                                                    Sales Tax

                                                                                                    TOTAL                                              $5,442.83




                                                                          PAGE          1     OF       1
                            Case 2:22-cv-01563-GMB Document 1-2 Filed 12/14/22 Page 3 of 7
                                         Diversified Maintenance, LLC                                                INVOICE NO.            459073
                                         331 First Avenue North
                                         Birmingham, AL 35204                                                        DATE                   02/28/21
                                         Phone (205) 251-9249
                                         FEIN: XX-XXXXXXX


                  CUSTOMER                                                                                      SERVICE LOCATION
             Kat Brennan Use 810 N. Vallejo St as PO#
             City Storage Systems                                                                          City Storage Systems
             777 S Figueroa St.                                                                            810 Vallejo Street
             41st Floor                                                                                    Denver, CO 80204
             Los Angeles, CA 90017

 TERMS:                                                  CUSTOMER NO.                       JOB NO.                   P.O. NO.
  Net Due 30 Days                                             39369                          39369                  Use 810 N. Vallejo St
                                                                                                       Unit of
                     Description                                                  Quantity                               Price                  Amount
                                                                                                      Measure
February services o kitchen - Requested
By: Mat Brennan - Completed Date:
02/28/2021                                                                                   1.00 1                         5,336.67                     5,336.67




 Please remit payment to: Diversified Maintenance-RWS, LLC P.O. Box 745691 Atlanta, GA 30374-5691

                                                                                                    Sub-Total                                           5,336.67
                                                                                                    Sales Tax

                                                                                                    TOTAL                                              $5,336.67




                                                                          PAGE          1     OF       1
                          Case 2:22-cv-01563-GMB Document 1-2 Filed 12/14/22 Page 4 of 7
                               Diversified Maintenance, LLC                                          INVOICE NO.         461549
                               331 First Avenue North
                               Birmingham, AL 35204                                                  DATE                03/31/21
                               Phone (205) 251-9249
                               FEIN: XX-XXXXXXX


           CUSTOMER                                                                        SERVICE LOCATION
          Email Inv: APInvoices@csscompany.com
          City Storage Systems                                                       City Storage Systems
          777 S Figueroa St.                                                         810 Vallejo Street
          41st Floor                                                                 Denver, CO 80204
          Los Angeles, CA 90017



TERMS:                                                        CUSTOMER NO.                            P.O. NO.
         Net Due 30 Days                                         39369                               810 N. Vallejo St
                                                                                          Unit of
                Description                                      Quantity                                 Price          Amount
                                                                                         Measure
Monthly service 2 kitchens open -
Requested By: Kat Brennan - Completed
Date: 03/31/2021                                                         1.00    1                        5,549.00                  5,549.00




                                                                                 Sub-Total                                        5,549.00
                                                                                 Sales Tax

                                                                                 TOTAL                                         $5,549.00




                 TO ENSURE PROPER CREDIT, PLEASE DETACH AND MAIL BOTTOM PORTION WITH YOUR PAYMENT



  ATTENTION:                                                                               Customer No.                                 39369
  Email Inv: APInvoices@csscompany.com
                                                                                           Job No.                                      39369
  City Storage Systems
  777 S Figueroa St.                                                                       Invoice No.                                461549
  41st Floor                                                                               Invoice Date                              03/31/21
  Los Angeles, CA 90017
                                                                                           Amount Due                               $5,549.00

          PLEASE SEND REMITTANCE TO:                                                       Amount Remitted

            Diversified Maintenance-RWS, LLC
            P.O. Box 745691
            Atlanta, GA 30374-5691




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                          Case 2:22-cv-01563-GMB Document 1-2 Filed 12/14/22 Page 5 of 7
                               Diversified Maintenance, LLC                                          INVOICE NO.        464250
                               331 First Avenue North
                               Birmingham, AL 35204                                                  DATE               05/01/21
                               Phone (205) 251-9249
                               FEIN: XX-XXXXXXX


           CUSTOMER                                                                        SERVICE LOCATION
          Email Inv: APInvoices@csscompany.com
          City Storage Systems                                                       City Storage Systems
          777 S Figueroa St.                                                         810 Vallejo Street
          41st Floor                                                                 Denver, CO 80204
          Los Angeles, CA 90017



TERMS:                                                        CUSTOMER NO.                            P.O. NO.
         Net Due 30 Days                                         39369                               810 N Vallejo St
                                                                                          Unit of
                Description                                      Quantity                                 Price         Amount
                                                                                         Measure
Monthly service common area 3full
kitchens and 3 partial month cleaning -
Requested By: Kat Brennan - Completed
Date: 04/30/2021                                                         1.00    1                        5,708.25                 5,708.25




                                                                                 Sub-Total                                       5,708.25
                                                                                 Sales Tax

                                                                                 TOTAL                                        $5,708.25




                 TO ENSURE PROPER CREDIT, PLEASE DETACH AND MAIL BOTTOM PORTION WITH YOUR PAYMENT



  ATTENTION:                                                                               Customer No.                                39369
  Email Inv: APInvoices@csscompany.com
                                                                                           Job No.                                     39369
  City Storage Systems
  777 S Figueroa St.                                                                       Invoice No.                               464250
  41st Floor                                                                               Invoice Date                             05/01/21
  Los Angeles, CA 90017
                                                                                           Amount Due                              $5,708.25

          PLEASE SEND REMITTANCE TO:                                                       Amount Remitted

            Diversified Maintenance-RWS, LLC
            P.O. Box 745691
            Atlanta, GA 30374-5691




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                          Case 2:22-cv-01563-GMB Document 1-2 Filed 12/14/22 Page 6 of 7
                               Diversified Maintenance, LLC                                          INVOICE NO.      465753
                               331 First Avenue North
                               Birmingham, AL 35204                                                  DATE             05/31/21
                               Phone (205) 251-9249
                               FEIN: XX-XXXXXXX


           CUSTOMER                                                                        SERVICE LOCATION
          Email Inv: APInvoices@csscompany.com
          City Storage Systems                                                       City Storage Systems
          777 S Figueroa St.                                                         810 Vallejo Street
          41st Floor                                                                 Denver, CO 80204
          Los Angeles, CA 90017



TERMS:                                                        CUSTOMER NO.                            P.O. NO.
         Net Due 30 Days                                         39369                               810 Vallejo St
                                                                                          Unit of
                Description                                      Quantity                                 Price       Amount
                                                                                         Measure
May common areas and open kitchen
cleaning 12 kitchens - Requested By: Kat
Brennan - Completed Date: 05/31/2021                                     1.00    1                        6,610.70               6,610.70




                                                                                 Sub-Total                                     6,610.70
                                                                                 Sales Tax

                                                                                 TOTAL                                      $6,610.70




                 TO ENSURE PROPER CREDIT, PLEASE DETACH AND MAIL BOTTOM PORTION WITH YOUR PAYMENT



  ATTENTION:                                                                               Customer No.                              39369
  Email Inv: APInvoices@csscompany.com
                                                                                           Job No.                                   39369
  City Storage Systems
  777 S Figueroa St.                                                                       Invoice No.                             465753
  41st Floor                                                                               Invoice Date                           05/31/21
  Los Angeles, CA 90017
                                                                                           Amount Due                            $6,610.70

          PLEASE SEND REMITTANCE TO:                                                       Amount Remitted

            Diversified Maintenance-RWS, LLC
            P.O. Box 745691
            Atlanta, GA 30374-5691




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                          Case 2:22-cv-01563-GMB Document 1-2 Filed 12/14/22 Page 7 of 7
                               Diversified Maintenance, LLC                                          INVOICE NO.      465754
                               331 First Avenue North
                               Birmingham, AL 35204                                                  DATE             06/09/21
                               Phone (205) 251-9249
                               FEIN: XX-XXXXXXX


           CUSTOMER                                                                        SERVICE LOCATION
          Email Inv: APInvoices@csscompany.com
          City Storage Systems                                                       City Storage Systems
          777 S Figueroa St.                                                         810 Vallejo Street
          41st Floor                                                                 Denver, CO 80204
          Los Angeles, CA 90017



TERMS:                                                        CUSTOMER NO.                            P.O. NO.
         Net Due 30 Days                                         39369                               810 Vallejo St
                                                                                          Unit of
                Description                                      Quantity                                 Price       Amount
                                                                                         Measure
Final invoice June 1 to June 9 per
cancellation letter prorated invoice -
Requested By: Kat Brennan - Completed
Date: 06/09/2021                                                         1.00    1                        1,982.16               1,982.16




                                                                                 Sub-Total                                     1,982.16
                                                                                 Sales Tax

                                                                                 TOTAL                                      $1,982.16




                 TO ENSURE PROPER CREDIT, PLEASE DETACH AND MAIL BOTTOM PORTION WITH YOUR PAYMENT



  ATTENTION:                                                                               Customer No.                              39369
  Email Inv: APInvoices@csscompany.com
                                                                                           Job No.                                   39369
  City Storage Systems
  777 S Figueroa St.                                                                       Invoice No.                             465754
  41st Floor                                                                               Invoice Date                           06/09/21
  Los Angeles, CA 90017
                                                                                           Amount Due                            $1,982.16

          PLEASE SEND REMITTANCE TO:                                                       Amount Remitted

            Diversified Maintenance-RWS, LLC
            P.O. Box 745691
            Atlanta, GA 30374-5691




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